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REITLER KAILAS & ROSENBLATT LLC                                     Hearing Date: April 4, 2018
Yann Geron                                                          At: 10:00 a.m.
Edward P. Grosz
Jeannette Litos                                                     Objection Deadline: March 28, 2018
885 Third Avenue, 20th Floor
New York, New York 10022
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Attorneys for Yann Geron, Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                           :   Chapter 7
                                                                :
SCANDIA SEAFOOD (NEW YORK), INC.,                               :   Case No. 17-10744-MEW
                                                                :
                                    Debtor.                     :
----------------------------------------------------------------x

  CHAPTER 7 TRUSTEE’S REPLY IN FURTHER SUPPORT OF HIS APPLICATION
   FOR AN ORDER (I) AUTHORIZING TRUSTEE TO CONTINUE THE DEBTOR’S
 ASSIGNMENT FOR THE BENEFIT OF CREDITORS, GAIN CONTROL OVER SUCH
 ASSIGNMENT PROCEEDING, AND PURSUE STATE LAW PREFERENCE CLAIMS
  IN SUCH ASSIGNMENT PROCEEDING FOR THE BENEFIT OF THE DEBTOR’S
  CHAPTER 7 ESTATE, OR ALTERNATIVELY, (II) AUTHORIZING TRUSTEE TO
    PURSUE THE STATE LAW PREFERENCE CLAIMS DIRECTLY UNDER THE
                         BANKRUPTCY CODE

 TO THE HONORABLE MICHAEL E. WILES,
 UNITED STATES BANKRUPTCY JUDGE:

                  Yann Geron (the “Trustee”), the chapter 7 trustee of the estate of Scandia Seafood

 (New York), Inc. (“Scandia” or the “Debtor”), the above-captioned debtor, by and through his

 counsel, Reitler Kailas & Rosenblatt LLC, as and for his reply in further support of his

 application for an order (i) authorizing the Trustee to continue the assignment for the benefit of

 creditors, gain control over such assignment proceeding, and pursue state law preference claims

 in the assignment proceeding, or alternatively, (ii) authorizing the Trustee to pursue the state law

 preference claims directly under the Bankruptcy Code, respectfully sets forth and represents as

 follows:
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                   1.       In comparing the Trustee’s application to the three objections filed in

 response, it appears that, the overblown rhetoric of certain objectors notwithstanding, 1 the

 opposing parties are actually in broad agreement as to certain pertinent matters:

                            •        The circumstances which gave rise to the Trustee’s application –

 the commencement of an involuntary proceeding by creditors who are defendants in state law

 preference actions, and timed in a manner to potentially cut-off both state and federal preference

 claims – are highly unusual.

                            •        There is no clear controlling authority regarding the power of this

 Court to grant the relief sought by the Trustee. Indeed, although the objecting parties spend

 considerable time protesting that the Trustee does not have the authority to pursue the state law

 preference claims that arose out of the Assignment Proceeding commenced before the filing of

 the Involuntary Petition, the objecting parties do not address the central issue raised by the

 Trustee’s application: the scope of this Court’s discretionary power to permit the Trustee to

 proceed with such claims in the context of the bankruptcy case and under the supervision of the

 Bankruptcy Court.

                            •        The state law preference claims represent the largest asset

 available for satisfaction of claims of unsecured creditors.

                            •        The recoveries made by the Assignee as a result of the state law

 preference claims he pursued prior to the Debtor’s bankruptcy are indisputably property of the

 estate. The objecting parties, therefore, are left in the untenable position of trying to argue that,
 1
   Choosing to create more heat than light with respect to a novel legal issue, Beyer Lighting Fish Company, Inc. and
 Clear Water Fish Co., Inc., in their Objections to the Chapter 7 Trustee’s Application [DE 86], accuse the Trustee,
 among other things and without any basis in law or logic, of “defy[ing] all notions of historical precedent and
 rationale for the enactment of the bankruptcy acts, going all the way back to the original Bankruptcy Act of 1800,”
 advocating for a “shameful abrogation of 11 U.S.C. §543” and seeking to deprive the Petitioning Creditors of the
 “benefit of their bargain [sic]” in successfully moving for the appointment of a trustee. Pp. 9, 20, 24. The last
 accusation is particularly ironic, since the Trustee is making this application in the hope of recovering funds for the
 estate that can be used to conduct the investigation which the Petitioning Creditors claim to want.


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 while the preference claims themselves are neither property of the estate nor claims that can be

 pursued by the Trustee, the pre-petition proceeds of those claims are, somehow, property of the

 estate.

                2.      The dilemma faced by the objecting parties – wanting the estate to hold on

 to the funds recovered by the Assignee while simultaneously arguing that claims that are legally

 identical to the ones that yielded those funds cannot be pursued against non-settling parties under

 the supervision of the Bankruptcy Court – is, of course, one that was partially created by the

 Petitioning Creditors. In fairness to the objecting parties, however, the Trustee recognizes the

 novelty of the current situation, which is why the Trustee has asked for the Court’s guidance in

 this matter. Given both the magnitude of the state law preference claims – approximately $3

 million – and the substantial possibility of the Trustee being able to make a significant recovery

 on those claims without great expense, it would have been a dereliction of duty on the Trustee’s

 part not to seek the Court’s approval to pursue the state law preference claims.

                3.      The central contention made by the objecting parties is that, although state

 laws authorizing a debtor to make assignments for the benefit of creditors are not per se

 preempted by the Bankruptcy Code, the commencement of the involuntary case “superseded” the

 existing state court proceeding.     In so arguing, the objecting parties are responding to an

 argument the Trustee never made. The Trustee does not dispute the primacy of the bankruptcy

 proceeding. To the contrary, in his moving papers, the Trustee made clear that any effort to

 recover preferential payments under state law would be undertaken pursuant to the supervision

 of this Court. But the indisputable proposition that the state proceeding had been superseded by

 this proceeding does not mean that the state law preference claims have vanished, any more than

 would any other state law claims that exist in favor of the estate or its creditors. There is nothing




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 in the Bankruptcy Code, nor in any controlling authority cited by any of the objecting parties,

 which precludes this Court from authorizing the Trustee to pursue such state law claims, as

 requested in the Trustee’s application.

                4.      Whether under Section 543 or 544 of the Bankruptcy Code, or the inherent

 equitable powers of this Court, there is ample basis for the relief sought by the Trustee herein.

 Objectors’ argument that permitting the Trustee to pursue the state law preference claims would

 contradict fundamental policies underlying the Bankruptcy Code is both conclusory and illogical.

 No important Congressional policy would be advanced by starving this estate and its unsecured

 creditors of assets that the Assignor was pursuing at the time of the Voluntary Petition.

 Accordingly, the Trustee’s application should be granted.




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                  WHEREFORE, the Trustee respectfully requests that the Court enter an order (i)

 authorizing trustee to continue the Assignment Proceeding, gain control over the Assignment

 Proceeding, and pursue the Preference Actions in the Assignment Proceedings for the benefit of

 the debtor’s bankruptcy estate, or alternatively, (ii) authorizing the Trustee to pursue the state

 law preference claims under Section 544 of the Bankruptcy Code, and granting such other and

 further relief as is just.

 Dated:     New York, New York                     REITLER KAILAS & ROSENBLATT LLC
            May 2, 2018
                                                   /s/ Yann Geron
                                                   Yann Geron
                                                   Edward P. Grosz
                                                   Jeannette Litos
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                                                   the estate of Scandia Seafood (New York), Inc.




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